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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    GOPRO, INC.,                                      Case No. 16-cv-01944-SI
                                   8                   Plaintiff,
                                                                                          ORDER GRANTING DEFENDANT'S
                                   9            v.                                        MOTION FOR RECONSIDERATION
                                  10    360HEROS, INC.,                                   Re: Dkt. No. 157
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Currently before the Court is defendant 360Heros’ motion for leave to file a motion for

                                  14   reconsideration. Dkt. No. 157.     360Heros’ seeks reconsideration of a portion of the Court’s

                                  15   January 16, 2018 minute order stating that Mr. Kinter’s deposition shall occur in California before

                                  16   the end of January 2018. Dkt. No. 156.

                                  17          Having carefully considered the papers submitted, the Court hereby GRANTS defendant’s

                                  18   request for leave to file a motion for reconsideration and will treat defendant’s papers as such.

                                  19   Accordingly, the Court hereby orders that Mr. Kinter may be deposed via video conference from

                                  20   New York. Plaintiff is instructed to set up the video conference. The deposition is to take place by

                                  21   the end of the month. Counsel may attend the deposition remotely.

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                                  23          IT IS SO ORDERED.

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                                  25   Dated: January 22, 2018

                                  26                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                  27                                                   United States District Judge
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